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                EXHIBIT 6
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 Top 300 Organizations Granted
      U.S. Patents in 2017
                                      Are more patents better?



IPO does not attempt to answer the question above. IPO publishes patent owner lists as an information
service for IPO members.

This list of organizations that received the most U.S. utility patents is being published by IPO for the
35th consecutive year. It is based on data obtained from the U.S. Patent and Trademark Office.

Patents granted to parent and subsidiary companies are combined in many instances. See the end notes
for more information. IPO makes reasonable efforts to avoid errors, but cannot guarantee accuracy.



18 June 2018
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                                                   2017 Patent Owners
                                                       Numerical Listing

    Use care in interpreting the “percent change from 2016” column. The total number of patents granted by the USPTO in 2017
      was 318,829, up 5 percent from 2016. The percent change for an individual organization could be affected by mergers,
             acquisitions, divestitures, inconsistent treatment of subsidiaries in 2016 and 2017, and many other factors.


                                                      Percent                                                          Percent
                                            2017      Change                                               2017        Change
Rank            Organization             Patents   From 2016        Rank       Organization              Patents    From 2016
1      International Business              8,996         10.8       38   Cisco Technology, Inc.             989             0.2
       Machines Corp.                                               39   Koninklijke Philips N.V.           973           -14.2
2      Samsung Electronics Co., Ltd.       5,810          5.3            Semiconductor Energy               973            -8.3
3      Intel Corp.                         3,726          8.4            Laboratory Co., Ltd.
4      Canon K.K.                          3,664         -5.5       41   SK Hynix Inc.                       938          -18.1
5      Alphabet Inc.                       3,065         new        42   Texas Instruments, Inc.             923            3.9
6      General Electric Co.                2,989         14.2       43   Denso Corp.                         863           18.7
7      Qualcomm, Inc.                      2,728        -14.3       44   Honda Motor Co., Ltd.               854           -1.9
8      LG Electronics Inc.                 2,696         10.0       45   Western Digital Corp.               837          -27.4
9      Microsoft Corp.                     2,601          1.7       46   NEC Corp.                           816           -7.8
10     Taiwan Semiconductor                2,408          6.1       47   Micron Technology, Inc.             807           -9.3
       Manufacturing Co., Ltd.                                      48   Globalfoundries Inc.                782          -73.9
11     Samsung Display Co., Ltd.           2,266         11.3       49   The Dow Chemical Co.                765            7.8
12     Apple, Inc.                         2,225          5.6       50   Oracle International Corp.          753           12.1
13     Sony Corp.                          2,116         -2.5       51   Halliburton Energy                  738           25.6
14     Toyota Jidosha K.K.                 2,015         23.6            Services, Inc.
15     Amazon Technologies, Inc.           1,960         15.2       52   Verizon                             715           -5.5
16     Toshiba Corp.                       1,891         -1.5       53   Shenzhen China                      709           30.5
17     Ford Global Technologies, LLC       1,876         18.4            Star Optoelectronics
18     Dell Technologies                   1,681          3.2            Technology Co., Ltd.
19     Telefonaktiebolaget                 1,551         -0.1       54   Brother Kogyo K.K.                  705          -31.3
       LM Ericsson                                                  55   Fujifilm Corp.                      691           -1.2
20     Siemens AG                          1,538          3.6       56   Schlumberger Technology Corp.       680           -0.7
21     Fujitsu Ltd.                        1,531         -2.1       57   Sharp Corp.                         679          -20.5
22     Huawei Technologies Co., Ltd.       1,472         18.6       58   Infineon Technologies AG            677            8.7
23     United Technologies Corp.           1,423         23.0       59   STMicroelectronics, Inc.            675           -9.2
24     Medtronic Inc.                      1,414         -1.9       60   Facebook, Inc.                      660           33.0
25     Seiko Epson Corp.                   1,404        -17.1       61   LG Chem., Ltd.                      634           24.6
26     Nokia Corp.                         1,381         new        62   Kyocera Document                    632          -17.1
27     BOE Technology                      1,376         40.8            Solutions Inc.
       Group Co., Ltd.                                              63   HP Inc.                             630           -4.1
28     Panasonic Intellectual Property     1,338         -4.6       64   Olympus Corp.                       613            9.5
       Management Co., Ltd.                                         65   LG Display Co., Ltd.                604           -5.6
29     Hyundai Motor Co.                   1,295         20.3       66   3M Innovative Properties Co.        602           11.5
30     AT&T Corp.                          1,263         -0.2            NXP USA, Inc.                       602           new
31     Boeing Co.                          1,171         10.2       68   Renesas Electronics Corp.           601            2.0
32     Robert Bosch GmbH                   1,158          3.1       69   Caterpillar Inc.                    595           15.5
33     Johnson & Johnson                   1,147         18.7       70   Applied Materials, Inc.             590           -1.9
34     Mitsubishi Denki K.K.               1,142         11.5       71   Xerox Corp.                         586          -30.0
35     Ricoh Co., Ltd.                     1,140        -23.2       72   Electronics and                     585          -12.8
36     GM Global Technology                1,063         -4.9            Telecommunications
       Operations LLC                                                    Research Institute
37     Honeywell International Inc.        1,036         20.8       73   Fuji Xerox Co., Ltd.                569           -1.9
                                                                                                                   www.ipo.org

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2017 Patent Owners
Numerical Listing                                  Percent                                                           Percent
                                         2017      Change                                               2017         Change
Rank         Organization             Patents   From 2016        Rank         Organization            Patents     From 2016
 74 Murata Manufacturing Co., Ltd.        563         16.9        116 Industrial Technology               312          -19.9
 75 Japan Display Inc.                    553         15.6            Research Institute, Taiwan
 76 Corning Inc.                          547         28.0        117 Koch Industries                     310           50.6
 77 University of California,             524          3.6        118 Massachusetts Institute             306            9.2
     The Regents of                                                   of Technology
 78 SAP AG                                521          4.6        119 TE Connectivity                     301            8.0
 79 LG Innotek Co., Ltd.                  520         11.7        120 Fanuc Corp.                         299           32.1
 80 Kyocera Corp.                         509         23.8        121 NXP B.V.                            296            2.0
 81 Blackberry Ltd.                       506        -52.0        122 Elwha LLC                           294           22.4
 82 Hewlett Packard Enterprise            505        -21.8        123 InterDigital Technology Corp.       291            5.8
 83 Konica Minolta, Inc.                  495          9.9        124 Bayer Intellectual                  290           52.4
 84 Hitachi, Ltd.                         491         -4.3            Property GmbH
                                                                  125 Bank of America Corp.               288            3.1
 85 Procter & Gamble Co.                  469         15.4
                                                                  126 Rohm Co., Ltd.                      286            0.7
 86 DuPont                                465        -10.3
                                                                  127 Sanofi                              284           -5.6
 87 Commissariat a l'Energie              458          3.5
     Atomique et aux                                                  Whirlpool Corp.                     284           22.2
     Energies Alternatives                                        129 Samsung Electro-                    281          -46.6
 88 Seagate Technology, LLC               457        -14.2            Mechanics Co., Ltd.
 89 Monsanto Technology, LLC              434        -26.0        130 Fuji Electric Co., Ltd.             279           19.4
 90 Avago Technologies General IP         431         24.8            Nvidia Corp.                        279          -25.4
     (Singapore) Pte. Ltd.                                        132 CNH Industrial America LLC          272           44.5
 91 Mitsubishi Heavy                      427          7.0        133 Hon Hai Precision                   271          -57.9
     Industries, Ltd.                                                 Industry Co., Ltd.
 92 BASF SE                               415         -1.9            Schaeffler Technologies             271           29.2
 93 ZTE Corp.                             407        -16.0            AG & Co. KG
 94 Tokyo Electron Ltd.                   403          3.7        135 Commscope Technologies LLC          270           25.6
 95 Mediatek Inc.                         398         29.6        136 Novartis AG                         262            5.7
 96 Becton Dickinson and Co.              397         35.8        137 Juniper Networks, Inc.              259            5.4
     Samsung SDI Co., Ltd.                397         -9.1        138 Eaton Corp.                         257           16.7
 98 Sprint Corp.                          391        -30.7        139 Sumitomo Electric                   255           -5.5
                                                                      Industries, Ltd.
 99 Nike, Inc.                            372        -11.6
                                                                  140 Illinois Tool Works Inc.            250           10.8
 100 Rolls-Royce PLC                      359         26.5
                                                                  141 Stryker Corp.                       244           21.7
 101 Nissan Motor Co., Ltd.               357         11.2
                                                                  142 ABB Ltd.                            243          -30.5
 102 Tencent Technology                   354         25.1
     (Shenzhen) Co. Ltd.                                              NetApp, Inc.                        243           -3.3
     United States of America, Navy       354          5.1        144 Infineon Technologies               242           18.2
                                                                      Austria AG
 104 United Microelectronics Corp.        351          7.7
                                                                      Thomson Licensing S.A.              242           -7.4
 105 Yazaki Corp.                         349        -12.9
                                                                  146 Hitachi Automotive                  235           16.2
 106 Futurewei Technologies, Inc.         345          0.3
                                                                      Systems, Ltd.
 107 Dolby Laboratories, Inc.             344         32.8            Saint-Gobain Corp.                  235           10.2
 108 ExxonMobil Corp.                     339        -18.0            Societe Nationale d'Etude et        235           18.7
 109 Raytheon Co.                         336         -9.8            de Construction de Moteurs
 110 Adobe Systems Inc.                   334         -5.4            d'Aviation
 111 Deere & Co.                          328         27.1       149 Marvell International Ltd.           231           new
 112 Roche Holdings, Inc.                 323        -20.1       150 Disney Enterprises, Inc.             227           14.1
 113 Boston Scientific Scimed, Inc.       320          2.8       151 ASML Netherlands B.V.                223           -0.9
 114 Empire Technology                    314         -8.9           Audi AG                              223           10.8
     Development LLC                                             153 Ebay Inc.                            220           20.0
     Philips Lighting Holding B.V.        314         new        154 University of Texas                  219           26.0
                                                                 155 Saudi Arabian Oil Co.                218           21.6
                                                                                                                www.ipo.org

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2017 Patent Owners
Numerical Listing                                  Percent                                                           Percent
                                         2017      Change                                                2017        Change
Rank          Organization            Patents   From 2016        Rank       Organization               Patents    From 2016
 156 Semiconductor Components             217          6.5           Lockheed Martin Corp.                 171          -11.1
     Industries, LLC                                                 Panasonic Intellectual Property       171          -78.9
 157 Symantec Corp.                       214          0.9           Corp. of America
 158 Nikon Corp.                          212         -0.5       202 Nitto Denko Corp.                     170          -17.1
 159 Salesforce.com, Inc.                 211         -6.2       203 LSIS Co., Ltd.                        169           30.8
     Shin Etsu Chemical Co., Ltd.         211          3.3       204 Haier US Appliance                    168           new
 161 Casio Computer Co. Ltd.              206         -7.3           Solutions, Inc.
     Cree, Inc.                           206        -17.0       205 King Fahd University of               167           new
     Merck Patent GmbH                    206         18.4           Petroleum and Minerals
                                                                     Mahle International GmbH              167           26.9
     Skyworks Solutions, Inc.             206         new
                                                                 207 Johns Hopkins University              164           -1.8
 165 CA, Inc.                             204         10.3
                                                                 208 Ecolab USA Inc.                       163           14.7
     Stanford University                  204        -19.6
                                                                 209 Airbus Operations S.A.S.              162            4.9
     Sun Patent Trust                     204         42.2
                                                                     Comcast Cable                         162           new
     Xperi Corp.                          204          6.4
                                                                     Communications, LLC
 169 Merck & Co., Inc.                    203          3.0
                                                                     Foxconn Interconnect                  162            9.3
 170 Paypal. Inc.                         202         27.7           Technology Ltd.
 171 LAM Research Corp.                   201         10.9           Wisconsin Alumni                      162           -3.7
 172 Airbus Operations GmbH               200        -10.5           Research Foundation
     HTC Corp.                            200         -7.5       213 Nintendo Co., Ltd.                    161          -28.6
 174 Nichia Corp.                         196         25.5           Rambus, Inc.                          161           -5.6
 175 ARM Ltd.                             195         40.5       215 Cooper Technologies Co.               159           15.7
     Avaya Inc.                           195          3.1       216 Hitachi Metals Ltd.                   158          -12.7
 177 TDK Corp.                            194         22.2           IGT                                   158          -56.3
 178 Komatsu Ltd.                         193         21.2       218 Nippon Steel & Sumitomo               157            2.5
 179 KLA-Tencor Corp.                     192         13.5           Metal Corp.
     NTT Docomo, Inc.                     192        -12.0       219 AU Optronics Corp.                    156          -42.3
     Red Hat, Inc.                        192         -5.2           Harvard College,                      156           new
 182 Continental Automotive GmbH          189         21.2           President and Fellows
     Sumitomo Chemical Co., Ltd.          189          9.5       221 Daikin Industries Ltd.                155            0.0
 184 Wistron Corp.                        187        -69.5       222 BAE Systems                           154          -10.4
                                                                     Syngenta Participations AG            154           16.9
 185 Cook Medical                         186        -11.3
     Technologies LLC                                            224 Cardiac Pacemakers, Inc.              153           -3.9
 186 Hitachi High-                        185         -9.7       225 Accenture Global Services Ltd.        152            3.9
     Technologies Corp.                                              Northrop Grumman Systems              152           new
 187 Osram Opto                           184         12.5           Corp.
     Semiconductors GmbH                                         227 Aisin Seiki K.K.                      151            2.0
 188 Sumitomo Wiring Systems, Ltd.        183         24.6           Carl Zeiss SMT GmbH                   151           15.2
 189 Semiconductor Manufacturing          182         18.7           Shimadzu Corp.                        151           14.6
     International (Shanghai) Corp.                              230 California Institute                  150          -34.0
 190 Lenovo (Singapore) Pte. Ltd.         179         -2.8           of Technology
     Rockwell Automation                  179         21.2           Chevron USA Inc.                      150           14.0
     Technologies, Inc.                                              Globus Medical Inc.                   150            2.7
 192 Thales                               178         12.9           Marvell World Trade Ltd.              150           new
 193 Aktiebolaget SKF                     177         15.8           Nielsen                               150          -12.7
 194 Bally Gaming, Inc.                   176        -19.9       235 L'Oreal S.A.                          149           23.5
     Tsinghua University                  176         -1.7           Panasonic Corp.                       149            2.7
 196 Bayerische Motoren Werke AG          174         28.2       237 Here Global B.V.                      148           19.6
 197 Echostar Technologies LLC            172         14.5           Omron Corp.                           148           10.8
     Rockwell Collins, Inc.               172         21.5           Synaptics, Inc.                       148           new
 199 Bridgestone Corp.                    171        -15.2
                                                                                                                 www.ipo.org

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               Case 3:21-cv-07559-WHA                Document 50-8        Filed 02/18/21        Page 6 of 11
2017 Patent Owners
Numerical Listing                                    Percent                                                            Percent
                                           2017      Change                                                 2017        Change
Rank          Organization              Patents   From 2016        Rank         Organization              Patents    From 2016
 240 Macronix International Co., Ltd.       147        -59.9        282 Centre National de la Recherche       126           -1.6
     Shimano Inc.                           147         -6.1            Scientifique - CNRS
     ZF Friedrichshafen, AG                 147        -11.6            Cypress Semiconductor Corp.           126          -32.5
 243 Kobe Steel, Ltd.                       145         13.8            Stanley Black & Decker, Inc.          126            4.0
 244 Delta Electronics Inc.                 144          8.3        285 Qorvo US, Inc.                        125           new
     Jtekt Corp.                            144         -4.9        286 Arris Enterprises, LLC                124            8.9
 246 Innolux Corp.                          143         new             T-Mobile, USA, Inc.                   124           new
 247 Evonik Degussa GmbH                    142         new             UOP                                   124          -44.4
     Toyoda Jidoshokki                      142         new         289 Delphi Technologies, Inc.             121           new
     Seisakusho K.K.                                                    HRL Laboratories, LLC                 121            4.1
     United States of America, Army         142          4.2        291 Broadcom Corp.                        119         -590.8
 250 Borgwarner Inc.                        141         new             Sumitomo Rubber                       119           -3.4
     Kawasaki Jukogyo K.K.                  141         -6.4            Industries, Ltd.
 252 Acushnet Co.                           140         10.0        293 Intuitive Surgical                    118           -6.8
     Bose Corp.                             140         new             Operations, Inc.
     Compagnie Generale des                             19.3        294 United States of America,             117            1.7
                                            140
                                                                        National Aeronautics and
     Etablissements Michelin
                                                                        Space Administration
 255 Nuance Communications, Inc.            139          4.3
                                                                    295 DSM IP Assets B.V.                    116          -24.1
 256 Analog Devices, Inc.                   138          2.2
                                                                        NGK Spark Plug Co., Ltd.              116           -6.0
     Xiaomi Inc.                            138         new
                                                                        University of South Florida           116            1.7
 258 Advanced Micro Devices, Inc.           137        -54.7
                                                                    298 Acer Inc.                             115            4.3
     Hyundai Mobis, Co., Ltd.               137         13.9
                                                                        General Hospital Corp.                115           new
 260 Nestec, S.A.                           136        -22.1
                                                                        Hitachi Kokusai Electric Inc.         115          -18.3
     Open Invention Network, LLC            136         11.8
                                                                        JFE Steel Corp.                       115           new
     Toray Industries Inc.                  136          5.1
                                                                        Smith & Nephew, Inc.                  115          -85.2
 263 Boston Scientific                      134        -30.6
     Neuromodulation Corp.
     Xilinx, Inc.                           134        -15.7
 265 Lenovo (Beijing) Ltd.                  133         new
     Sonos, Inc.                            133         new
 267 Abbott Cardiovascular                  132         -0.8
     Systems, Inc.
     United States of America,              132        -11.4
     Department of Health &
     Human Services
 269 Alibaba Group Holding Ltd.             130         new
     Lenovo Enterprise Solutions            130        -56.2
     (Singapore) Pte. Ltd.
 271 Bristol-Myers Squibb Co.               129         14.0
     Citrix Systems, Inc.                   129        -33.3
     Huawei Device Co., Ltd.                129        -17.1
     Yamaha Motor Co., Ltd.                 129         10.1
 275 Colgate-Palmolive Co.                  128         new
     Excalibur IP, LLC                      128         new
     Motorola Solutions, Inc.               128        -37.5
     Rovi Guides, Inc.                      128         new
     University of Michigan                 128        -10.9
 280 Ciena Corp.                            127         new
     NTN Corp.                              127          2.4


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                                                  2017 Patent Owners
                                                     Alphabetical Listing

  Use care in interpreting the “percent change from 2016” column. The total number of utility patents granted by the USPTO in
  2017 was 318,829, up 5 percent from 2016. The percent change for an individual organization might be affected by mergers,
              acquisitions, divestitures, inconsistent treatment of subsidiaries in 2016 and 2017, and other factors.

                                                     Percent                                                             Percent
                                           2017      Change                                                  2017        Change
Rank          Organization              Patents   From 2016        Rank     Organization                   Patents    From 2016

66     3M Innovative Properties Co.         602         11.5       263    Boston Scientific                    134          -30.6
142    ABB Ltd.                             243        -30.5              Neuromodulation Corp.
267    Abbott Cardiovascular                132         -0.8       113    Boston Scientific Scimed, Inc.       320            2.8
       Systems, Inc.                                               199    Bridgestone Corp.                    171          -15.2
225    Accenture Global Services Ltd.       152          3.9       271    Bristol-Myers Squibb Co.             129           14.0
298    Acer Inc.                            115          4.3       291    Broadcom Corp.                       119         -590.8
252    Acushnet Co.                         140         10.0       54     Brother Kogyo K.K.                   705          -31.3
110    Adobe Systems Inc.                   334         -5.4       165    CA, Inc.                             204           10.3
258    Advanced Micro Devices, Inc.         137        -54.7       230    California Institute                 150          -34.0
172    Airbus Operations GmbH               200        -10.5              of Technology
209    Airbus Operations S.A.S.             162          4.9       4      Canon K.K.                         3,664           -5.5
227    Aisin Seiki K.K.                     151          2.0       224    Cardiac Pacemakers, Inc.             153           -3.9
193    Aktiebolaget SKF                     177         15.8       227    Carl Zeiss SMT GmbH                  151           15.2
269    Alibaba Group Holding Ltd.           130         new        161    Casio Computer Co. Ltd.              206           -7.3
5      Alphabet Inc.                      3,065         new        69     Caterpillar Inc.                     595           15.5
15     Amazon Technologies, Inc.          1,960         15.2       282    Centre National de la                126           -1.6
                                                                          Recherche Scientifique - CNRS
256    Analog Devices, Inc.                 138          2.2
                                                                   230    Chevron USA Inc.                     150           14.0
12     Apple, Inc.                        2,225          5.6
                                                                   280    Ciena Corp.                          127           new
70     Applied Materials, Inc.              590         -1.9
                                                                   38     Cisco Technology, Inc.               989            0.2
175    ARM Ltd.                             195         40.5
                                                                   271    Citrix Systems, Inc.                 129          -33.3
286    Arris Enterprises, LLC               124          8.9
                                                                   132    CNH Industrial America LLC           272           44.5
151    ASML Netherlands B.V.                223         -0.9
                                                                   275    Colgate-Palmolive Co.                128           new
30     AT&T Corp.                         1,263         -0.2
                                                                   209    Comcast Cable                        162           new
219    AU Optronics Corp.                   156        -42.3              Communications, LLC
151    Audi AG                              223         10.8       87     Commissariat a l'Energie             458            3.5
90     Avago Technologies General IP        431         24.8              Atomique et aux
       (Singapore) Pte. Ltd.                                              Energies Alternatives
175    Avaya Inc.                           195          3.1       135    Commscope Technologies LLC           270           25.6
222    BAE Systems                          154        -10.4       252    Compagnie Generale des               140           19.3
194    Bally Gaming, Inc.                   176        -19.9              Etablissements Michelin
125    Bank of America Corp.                288          3.1       182    Continental Automotive GmbH          189           21.2
92     BASF SE                              415         -1.9       185    Cook Medical                         186          -11.3
                                                                          Technologies LLC
124    Bayer Intellectual                   290         52.4
       Property GmbH                                               215    Cooper Technologies Co.              159           15.7
196    Bayerische Motoren Werke AG          174         28.2       76     Corning Inc.                         547           28.0
96     Becton Dickinson and Co.             397         35.8       161    Cree, Inc.                           206          -17.0
81     Blackberry Ltd.                      506        -52.0       282    Cypress Semiconductor Corp.          126          -32.5
27     BOE Technology                     1,376         40.8       221    Daikin Industries Ltd.               155            0.0
       Group Co., Ltd.                                             111    Deere & Co.                          328           27.1
31     Boeing Co.                         1,171         10.2       18     Dell Technologies                  1,681            3.2
250    Borgwarner Inc.                      141         new        289    Delphi Technologies, Inc.            121           new
252    Bose Corp.                           140         new
                                                                                                                     www.ipo.org
                                                               5
                Case 3:21-cv-07559-WHA              Document 50-8         Filed 02/18/21        Page 8 of 11
2017 Patent Owners
Alphabetical Listing                                Percent                                                             Percent
                                          2017      Change                                                 2017         Change
Rank          Organization             Patents   From 2016        Rank             Organization          Patents     From 2016
244    Delta Electronics Inc.              144          8.3       133    Hon Hai Precision                   271          -57.9
43     Denso Corp.                         863         18.7              Industry Co., Ltd.
150    Disney Enterprises, Inc.            227         14.1       44     Honda Motor Co., Ltd.               854           -1.9
107    Dolby Laboratories, Inc.            344         32.8       37     Honeywell International Inc.      1,036           20.8
295    DSM IP Assets B.V.                  116        -24.1       63     HP Inc.                             630           -4.1
86     DuPont                              465        -10.3       289    HRL Laboratories, LLC               121            4.1
138    Eaton Corp.                         257         16.7       172    HTC Corp.                           200           -7.5
153    Ebay Inc.                           220         20.0       271    Huawei Device Co., Ltd.             129          -17.1
197    Echostar Technologies LLC           172         14.5       22     Huawei Technologies Co., Ltd.     1,472           18.6
208    Ecolab USA Inc.                     163         14.7       258    Hyundai Mobis, Co., Ltd.            137           13.9
72     Electronics and                     585        -12.8       29     Hyundai Motor Co.                 1,295           20.3
       Telecommunications                                         140    Illinois Tool Works Inc.            250           10.8
       Research Institute                                         116    Industrial Technology               312          -19.9
122    Elwha LLC                           294         22.4              Research Institute, Taiwan
114    Empire Technology                   314         -8.9       58     Infineon Technologies AG            677            8.7
       Development LLC                                            144    Infineon Technologies               242           18.2
247    Evonik Degussa GmbH                 142         new               Austria AG
275    Excalibur IP, LLC                   128         new        246    Innolux Corp.                       143           new
108    ExxonMobil Corp.                    339        -18.0       3      Intel Corp.                       3,726            8.4
60     Facebook, Inc.                      660         33.0       123    InterDigital Technology Corp.       291            5.8
120    Fanuc Corp.                         299         32.1       1      International Business            8,996           10.8
       Ford Global Technologies, LLC     1,876         18.4              Machines Corp.
17
                                                                  216    IGT                                 158          -56.3
209    Foxconn Interconnect                162          9.3
       Technology Ltd.                                            293    Intuitive Surgical                  118           -6.8
       Fuji Electric Co., Ltd.             279         19.4              Operations, Inc.
130
                                                                  75     Japan Display Inc.                  553           15.6
73     Fuji Xerox Co., Ltd.                569         -1.9
                                                                  298    JFE Steel Corp.                     115           new
55     Fujifilm Corp.                      691         -1.2
                                                                  207    Johns Hopkins University            164           -1.8
21     Fujitsu Ltd.                      1,531         -2.1
                                                                  33     Johnson & Johnson                 1,147           18.7
106    Futurewei Technologies, Inc.        345          0.3
                                                                  244    Jtekt Corp.                         144           -4.9
6      General Electric Co.              2,989         14.2
                                                                  137    Juniper Networks, Inc.              259            5.4
298    General Hospital Corp.              115         new
                                                                  250    Kawasaki Jukogyo K.K.               141           -6.4
48     Globalfoundries Inc.                782        -73.9
                                                                  205    King Fahd University of             167           new
230    Globus Medical Inc.                 150          2.7
                                                                         Petroleum and Minerals
36     GM Global Technology              1,063         -4.9
                                                                  179    KLA-Tencor Corp.                    192           13.5
       Operations LLC
                                                                  243    Kobe Steel, Ltd.                    145           13.8
204    Haier US Appliance                  168         new
       Solutions, Inc.                                            117    Koch Industries                     310           50.6
51     Halliburton Energy                  738         25.6       178    Komatsu Ltd.                        193           21.2
       Services, Inc.                                             83     Konica Minolta, Inc.                495            9.9
219    Harvard College,                    156         new        39     Koninklijke Philips N.V.            973          -14.2
       President and Fellows                                             Kyocera Corp.                       509           23.8
                                                                  80
237    Here Global B.V.                    148         19.6
                                                                  62     Kyocera Document                    632          -17.1
82     Hewlett Packard Enterprise          505        -21.8              Solutions Inc.
146    Hitachi Automotive                  235         16.2       171    LAM Research Corp.                  201           10.9
       Systems, Ltd.                                                     Lenovo (Beijing) Ltd.               133           new
                                                                  265
186    Hitachi High-                       185         -9.7
                                                                  190    Lenovo (Singapore) Pte. Ltd.        179           -2.8
       Technologies Corp.
                                                                  269    Lenovo Enterprise Solutions         130          -56.2
298    Hitachi Kokusai Electric Inc.       115        -18.3
                                                                         (Singapore) Pte. Ltd.
216    Hitachi Metals Ltd.                 158        -12.7
                                                                  61     LG Chem., Ltd.                      634           24.6
84     Hitachi, Ltd.                       491         -4.3
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2017 Patent Owners
Alphabetical Listing                                   Percent                                                               Percent
                                             2017      Change                                                   2017         Change
Rank           Organization               Patents   From 2016        Rank           Organization              Patents     From 2016
65     LG Display Co., Ltd.                   604         -5.6       237    Omron Corp.                           148           10.8
8      LG Electronics Inc.                  2,696         10.0       260    Open Invention Network, LLC           136           11.8
79     LG Innotek Co., Ltd.                   520         11.7       50     Oracle International Corp.            753           12.1
199    Lockheed Martin Corp.                  171        -11.1       187    Osram Opto                            184           12.5
235    L'Oreal S.A.                           149         23.5              Semiconductors GmbH
203    LSIS Co., Ltd.                         169         30.8       235    Panasonic Corp.                       149            2.7
240    Macronix International Co., Ltd.       147        -59.9       199    Panasonic Intellectual Property       171          -78.9
                                                                            Corp. of America
205    Mahle International GmbH               167         26.9
                                                                     28     Panasonic Intellectual Property     1,338           -4.6
149    Marvell International Ltd.             231         new               Management Co., Ltd.
230    Marvell World Trade Ltd.               150         new        170    Paypal. Inc.                          202           27.7
118    Massachusetts Institute                306          9.2       114    Philips Lighting Holding B.V.         314           new
       of Technology
                                                                     85     Procter & Gamble Co.                  469           15.4
95     Mediatek Inc.                          398         29.6
                                                                     285    Qorvo US, Inc.                        125           new
24     Medtronic Inc.                       1,414         -1.9
                                                                     7      Qualcomm, Inc.                      2,728          -14.3
169    Merck & Co., Inc.                      203          3.0
                                                                     213    Rambus, Inc.                          161           -5.6
161    Merck Patent GmbH                      206         18.4
                                                                     109    Raytheon Co.                          336           -9.8
47     Micron Technology, Inc.                807         -9.3
                                                                     179    Red Hat, Inc.                         192           -5.2
9      Microsoft Corp.                      2,601          1.7
                                                                     68     Renesas Electronics Corp.             601            2.0
34     Mitsubishi Denki K.K.                1,142         11.5
                                                                     35     Ricoh Co., Ltd.                     1,140          -23.2
91     Mitsubishi Heavy                       427          7.0
       Industries, Ltd.                                              32     Robert Bosch GmbH                   1,158            3.1
89     Monsanto Technology, LLC               434        -26.0       112    Roche Holdings, Inc.                  323          -20.1
275    Motorola Solutions, Inc.               128        -37.5       190    Rockwell Automation                   179           21.2
                                                                            Technologies, Inc.
74     Murata Manufacturing Co., Ltd.         563         16.9
                                                                     197    Rockwell Collins, Inc.                172           21.5
46     NEC Corp.                              816         -7.8
                                                                     126    Rohm Co., Ltd.                        286            0.7
260    Nestec, S.A.                           136        -22.1
                                                                     100    Rolls-Royce PLC                       359           26.5
142    NetApp, Inc.                           243         -3.3
                                                                     275    Rovi Guides, Inc.                     128           new
295    NGK Spark Plug Co., Ltd.               116         -6.0
                                                                     146    Saint-Gobain Corp.                    235           10.2
174    Nichia Corp.                           196         25.5
                                                                     159    Salesforce.com, Inc.                  211           -6.2
230    Nielsen                                150        -12.7
                                                                     11     Samsung Display Co., Ltd.           2,266           11.3
99     Nike, Inc.                             372        -11.6
                                                                     129    Samsung Electro-                      281          -46.6
158    Nikon Corp.                            212         -0.5              Mechanics Co., Ltd.
213    Nintendo Co., Ltd.                     161        -28.6       2      Samsung Electronics Co., Ltd.       5,810            5.3
218    Nippon Steel & Sumitomo                157          2.5       96     Samsung SDI Co., Ltd.                 397           -9.1
       Metal Corp.
                                                                     127    Sanofi                                284           -5.6
101    Nissan Motor Co., Ltd.                 357         11.2
                                                                     78     SAP AG                                521            4.6
202    Nitto Denko Corp.                      170        -17.1
                                                                     155    Saudi Arabian Oil Co.                 218           21.6
26     Nokia Corp.                          1,381         new
                                                                     133    Schaeffler Technologies               271           29.2
225    Northrop Grumman                       152         new               AG & Co. KG
       Systems Corp.
                                                                     56     Schlumberger Technology Corp.         680           -0.7
136    Novartis AG                            262          5.7
                                                                     88     Seagate Technology, LLC               457          -14.2
280    NTN Corp.                              127          2.4
                                                                     25     Seiko Epson Corp.                   1,404          -17.1
179    NTT Docomo, Inc.                       192        -12.0
                                                                     156    Semiconductor Components              217            6.5
255    Nuance Communications, Inc.            139          4.3              Industries, LLC
130    Nvidia Corp.                           279        -25.4       39     Semiconductor Energy                  973           -8.3
121    NXP B.V.                               296          2.0              Laboratory Co., Ltd.
66     NXP USA, Inc.                          602         new        189    Semiconductor Manufacturing           182           18.7
64     Olympus Corp.                          613          9.5              International (Shanghai) Corp.

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2017 Patent Owners
Alphabetical Listing                                Percent                                                              Percent
                                          2017      Change                                                  2017         Change
Rank          Organization             Patents   From 2016        Rank           Organization             Patents     From 2016
57     Sharp Corp.                         679        -20.5       14     Toyota Jidosha K.K.                2,015           23.6
53     Shenzhen China                      709         30.5       194    Tsinghua University                  176           -1.7
       Star Optoelectronics                                       104    United Microelectronics Corp.        351            7.7
       Technology Co., Ltd.
                                                                  247    United States of America, Army       142            4.2
227    Shimadzu Corp.                      151         14.6
                                                                  267    United States of America,            132          -11.4
240    Shimano Inc.                        147         -6.1              Department of Health &
159    Shin Etsu Chemical Co., Ltd.        211          3.3              Human Services
20     Siemens AG                        1,538          3.6       294    United States of America,            117            1.7
41     SK Hynix Inc.                       938        -18.1              National Aeronautics and
                                                                         Space Administration
161    Skyworks Solutions, Inc.            206         new
                                                                  102    United States of America, Navy       354            5.1
298    Smith & Nephew, Inc.                115        -85.2
                                                                  23     United Technologies Corp.          1,423           23.0
146    Societe Nationale d'Etude           235         18.7
       et de Construction de                                      77     University of California,            524            3.6
       Moteurs d'Aviation                                                The Regents of
265    Sonos, Inc.                         133         new        275    University of Michigan               128          -10.9
13     Sony Corp.                        2,116         -2.5       295    University of South Florida          116            1.7
98     Sprint Corp.                        391        -30.7       154    University of Texas                  219           26.0
165    Stanford University                 204        -19.6       286    UOP                                  124          -44.4
282    Stanley Black & Decker, Inc.        126          4.0       52     Verizon                              715           -5.5
59     STMicroelectronics, Inc.            675         -9.2       45     Western Digital Corp.                837          -27.4
141    Stryker Corp.                       244         21.7       127    Whirlpool Corp.                      284           22.2
182    Sumitomo Chemical Co., Ltd.         189          9.5       209    Wisconsin Alumni                     162           -3.7
                                                                         Research Foundation
139    Sumitomo Electric                   255         -5.5
       Industries, Ltd.                                           184    Wistron Corp.                        187          -69.5
291    Sumitomo Rubber                     119         -3.4       71     Xerox Corp.                          586          -30.0
       Industries, Ltd.                                           256    Xiaomi Inc.                          138           new
188    Sumitomo Wiring Systems, Ltd.       183         24.6       263    Xilinx, Inc.                         134          -15.7
165    Sun Patent Trust                    204         42.2       165    Xperi Corp.                          204            6.4
157    Symantec Corp.                      214          0.9       271    Yamaha Motor Co., Ltd.               129           10.1
237    Synaptics, Inc.                     148         new        105    Yazaki Corp.                         349          -12.9
222    Syngenta Participations AG          154         16.9       240    ZF Friedrichshafen, AG               147          -11.6
10     Taiwan Semiconductor              2,408          6.1       93     ZTE Corp.                            407          -16.0
       Manufacturing Co., Ltd.
177    TDK Corp.                           194         22.2
119    TE Connectivity                     301          8.0
19     Telefonaktiebolaget               1,551         -0.1
       LM Ericsson
102    Tencent Technology                  354         25.1
       (Shenzhen) Co. Ltd.
42     Texas Instruments, Inc.             923          3.9
192    Thales                              178         12.9
49     The Dow Chemical Co.                765          7.8
144    Thomson Licensing S.A.              242         -7.4
286    T-Mobile, USA, Inc.                 124         new
94     Tokyo Electron Ltd.                 403          3.7
260    Toray Industries Inc.               136          5.1
16     Toshiba Corp.                     1,891         -1.5
247    Toyoda Jidoshokki                   142         new
       Seisakusho K.K.

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                                              END NOTES:

1.      “New” in the percent change column indicates that the company was not on the Top 300 list in
2016.

2.       The number of patents granted does not necessarily indicate the value of a company’s technology,
the effectiveness of its R&D, or whether it will be profitable. The number of patents per company varies
widely from industry to industry and from company to company within an industry.

3.      This report was compiled by IPO from data provided by the U.S. Patent and Trademark
Office. Patents reported are utility patents granted during calendar year 2017 that listed the organization
or a subsidiary as the owner on the printed patent document. Patents in the name of a majority-owned
subsidiary are included with patents of the parent organization if the organization asked IPO to include
subsidiaries. Patents that were granted to two or more organizations jointly are attributed to the
organization listed first on the patent document.

4.      The number of utility patents granted by the USPTO increased to 318,829 in 2017 from 303,051
in 2016.

5.     IPO has published this report annually since 1984 as a service to its members. For annual lists,
go to www.ipo.org/top-300.

6.      For next year’s list, IPO will include patents of majority-owned subsidiaries under the name of
the parent if the parent provides the names of such subsidiaries to IPO at info@ipo.org by 1 March 2019.
